            Case 2:20-cv-00102-JCC Document 5 Filed 01/22/20 Page 1 of 1
                                   UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
                                       OFFICE OF THE CLERK
                                            AT SEATTLE



WILLIAM M. MCCOOL
CLERK OF COURT
700 STEWART ST.
SEATTLE, WA 98101

January 22, 2020

GP GLOBAL APAC PTE LTD ET AL V. M/V AMIS INTEGRITY
Case # 2:20−cv−00102−JCC

The court has received your case documents and has identified the following items to be addressed.
Please note: Any underlined points of reference below will contain a link to the source materials.

           Improper Signature − Secondary Attorney(s)
           The secondary attorney(s) Eric D Siebert indicated in your initiating document(s) is/are not
           properly before this court and has/have been removed from the docket. Please file a Notice of
           Appearance for attorney(s) Eric D Siebert as soon as practicable using the event "Notice of
           Appearance" under the "Notices" category. See FRCP 11 and LCR 83.2 or Section III(L) of
           the Electronic Filing Procedures.

           Pro Hac Vice Admission
           It will be necessary for attorney(s) J Stephen Simms to apply for Pro Hac Vice admission in
           this case. You may review the information regarding admission and find the relevant
           documentation here. Questions about this process should be directed to the Attorney
           Admissions clerk at 206−370−8862 or dana_scarp@wawd.uscourts.gov.



Please call the Attorney Case Opening Helpdesk at 206−370−8787 if you have any additional questions.

Thank you.

cc: file
